         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 1 of 26


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     William Meagher
11

12                                  IN THE UNITED STATES DISTRICT COURT

13                                         FOR THE DISTRICT OF ARIZONA

14

15   John J. Hurry and Justine Hurry, as husband and ) Case No. 14-cv-02490-PHX-ROS
     wife, Investment Services Corporation, an        )
16   Arizona Corporation,                             )
                                                      ) N.D. Cal. Case No. 17-mc-80026-LB
17                             Plaintiffs,            )
                                                      )
18           v.                                       ) RESPONSES/OBJECTIONS TO
                                                      ) DEPOSITION BY WRITTEN QUESTIONS
19                                                    ) OF WILLIAM MEAGHER
     Financial Industry Regulatory Authority, Inc., a )
20   Delaware corporation,                            )
                                                      )
21                             Defendant.             )
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     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 2 of 26


 1            PLEASE TAKE NOTICE that Non-Party Journalist William Meagher, by his attorneys

 2   Davis Wright Tremaine LLP, hereby responds and objects to the Deposition by Written Questions

 3   submitted by plaintiffs in the above-captioned action (the “Plaintiffs”).

 4                                              GENERAL OBJECTIONS
 5            These general objections are applicable to each specific Question and are incorporated by

 6   this reference into each answer, response, and objection thereto.

 7            1.       Mr. Meagher objects to these Questions as being the latest step in a vindictive

 8   campaign of harassment against Mr. Meagher and his employer, The Deal, LLC (“The Deal”). The

 9   pattern of harassment is fully set forth in the declaration of John M. Browning dated February 28,

10   2017 that accompanied Mr. Meagher’s successful motion to quash the subpoena served on him by

11   Plaintiffs. After Plaintiffs’ subpoena was quashed – but before Plaintiffs propounded these Written

12   Questions – FINRA issued an Extended Hearing Panel Decision ruling that Mr. Hurry and

13   Scottsdale Capital Advisors Corporation (“Scottsdale”) had committed “egregious” violations of

14   securities law by unlawfully selling unregistered stock after turning a blind eye to multiple “red

15   flags.” See, Department of Enforcement v. Scottsdale Capital Advisors Corporation, Disciplinary

16   Proceeding No. 2014041724601, at 102 (FINRA Mar. 31, 2017). For their role in the illegal

17   trading scheme, Scottsdale was fined $1.5 million and John Hurry was given a lifetime ban “from

18   associating with any FINRA member in any capacity.” Id. at 107-08. In light of his conduct, Mr.

19   Hurry was found to be “a threat to investors and the integrity of the markets” and the FINRA panel

20   found that “he repeatedly testified falsely.” Id. at 107. Given FINRA’s detailed findings of a

21   longstanding pattern of misconduct by Scottsdale and Mr. Hurry, it is evident that Plaintiffs will not

22   be able to prove that the statements allegedly leaked by FINRA to Mr. Meagher were defamatory.

23   Since Plaintiffs lawsuit against FINRA is sure to fail, these written deposition questions must be

24   seen for what they are: an exercise in vindictive harassment against Mr. Meagher for reporting on

25   Plaintiffs’ now proven misdeeds.

26            2.       Mr. Meagher objects to Plaintiffs’ attempt to conduct a deposition by written

27   questions pursuant to Federal Rules of Civil Procedure 31. After quashing Plaintiffs’ subpoena ad

28   testificandum, Judge Beeler gave Plaintiffs the opportunity to submit “written discovery” to Mr.

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 3 of 26


 1   Meagher, subject to Mr. Meagher’s objections. Order Quashing Subpoena, Hurry, 17-mc-80026,

 2   Dkt. 15 at 3 (the “Order”). It defeats the purpose of the Court’s Order quashing the subpoena to

 3   force Mr. Meagher to incur the time and expense of appearing for a deposition at which Mr.

 4   Meagher’s attorneys will instruct him not to answer the Written Questions because they call for

 5   privileged information and are deficient for the various reasons set forth below.

 6            3.       Mr. Meagher objects to the Questions to the extent that they seek to impose

 7   obligations beyond the scope permitted by the Federal Rules of Civil Procedure and applicable

 8   Local Rules of the Northern District of California.

 9            4.       Mr. Meagher objects to the Questions to the extent that they seek information

10   protected from disclosure by privileges and other protections from production including, without

11   limitation, constitutional or statutory reporter’s privileges and/or shield laws, the attorney-client

12   privilege, the work-product doctrine, joint-defense or common-interest privilege, and/or any other

13   constitutional, statutory, common law or regulatory protection, immunity or proscription from

14   disclosure.

15            5.       Mr. Meagher objects to the Questions to the extent they seek confidential or

16   proprietary business information, trade secrets, commercially sensitive information, or confidential

17   personal information not relevant to this lawsuit, including that of third parties.

18            6.        Mr. Meagher objects to the Questions to the extent they seek information or

19   documents already within Plaintiff’s possession, publicly available or otherwise available to

20   Plaintiff from other source(s) equally convenient, less burdensome, or less expensive.

21            7.       Mr. Meagher objects to the Questions to the extent that they seek information that is

22   unduly burdensome to obtain.

23            8.       Mr. Meagher objects to the Questions to the extent that they are overbroad,

24   unreasonably duplicative, oppressive, or harassing.

25            9.       Mr. Meagher objects to the Questions to the extent that they are vague, ambiguous,

26   or not susceptible to an easily discernible meaning.

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     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 4 of 26


 1            10.      Mr. Meagher objects to the definition of “You” and “Your” as overbroad to the

 2   extent it purports to encompass individuals or entities over which Mr. Meagher does not have

 3   control.

 4            11.      Mr. Meagher objects to the Questions to the extent they fail to describe the

 5   information sought with reasonable particularity.

 6            12.      Mr. Meagher objects to the Questions to the extent that they seek information

 7   irrelevant to the subject matter of this action and not reasonably calculated to lead to the discovery

 8   of admissible evidence.

 9            These responses are based upon the facts and information now known to Mr. Meagher as

10   well as his present analysis of the case, and may not in any way be deemed to be an admission or

11   representation that further facts, documents, or witnesses having knowledge relevant to the subject

12   matter of a Question do not exist. Mr. Meagher reserves the right to alter, supplement, amend, or

13   otherwise modify these responses in any way at any time.

14              RESPONSES AND SPECIFIC OBJECTIONS TO WRITTEN QUESTIONS
15   Question 1:

16            Identify yourself fully, including your full name, business address, and occupation including

17   job title and the business(es) where you are employed.

18   Response to Question 1:

19            William Paul Meagher is employed by The Deal as an Associate Editor. Mr. Meagher’s

20   office is located at 1435 North McDowell Boulevard, Suite 120, in Petaluma, California 95454.

21   Question 2:

22            Did you write every word of the Articles (as used herein, “Articles” refers to (1) the

23   September 17, 2013 article in The Deal Pipeline entitled “Finra targets offshore firms in pump-and-

24   dump”; (2) the December 6, 2013 article in The Deal Pipeline entitled, “FBI, securities officials

25   investigating Scottsdale Capital, Alpine Securities, source says”; (3) the March 20, 2014 article in

26   The Deal Pipeline entitled, “SEC requests default judgment in $34M Biozoom pump-and-dump

27   case”; and (4) the April 16, 2014 article in The Deal Pipeline entitled, “Finra focusing on money-

28   laundering violations”)?

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 5 of 26


 1   Response to Question 2:

 2            Mr. Meagher has already affirmed that he wrote the Articles in his declaration filed in

 3   support of his motion to quash and dated February 27, 2017. See Declaration of William Meagher

 4   in Support of Notice of Motion and Motion to Quash Subpoena, Hurry v. Financial Industry

 5   Regulatory Authority, Inc., 17-mc-80026-LB, Dkt. 3, ¶¶5-7 (N.D. Cal. Feb. 28, 2017) (the

 6   “Meagher Declaration”). The extent to which individuals other than Mr. Meagher contributed to

 7   the Articles is absolutely privileged as unpublished editorial information. See, e.g., Miller v.

 8   Superior Court, 21 Cal. 4th 883, 890 (App. Div. 1999) (“The shield law is absolute … in

 9   immunizing a newsperson from revealing unpublished information obtained in the newsgathering

10   process”); Shoen v. Shoen, 5 F.3d 1289, 1292 (9th Cir. 1993) (“Shoen I”); Cal. Evid. Code §

11   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

12   to the public by the person from whom disclosure is sought and includes … data of whatever sort

13   not itself disseminated to the public....”) (emphasis added).

14            Mr. Meagher further objects that this Question is incapable of leading to the discovery

15   relevant information since, as Judge Beeler has ruled, questions about whether Mr. Meagher was

16   responsible for “writing every word of the Article… do not bear on [Plaintiffs’] claims against

17   FINRA.” Order at 2. Moreover, to the extent this Question is relevant to Plaintiffs’ claims against

18   FINRA, any relevance is “because [the Question] necessarily call[s] for Mr. Meagher to reveal

19   information about his use of confidential sources to research and write his articles,” which is also

20   privileged information. Id. Last, Mr. Meagher objects to this Question on the ground that

21   revealing the identity of other individuals who worked on the Article (if any) would result in

22   harassment of yet more journalists working for The Deal given Plaintiffs’ track record of

23   prosecuting meritless subpoenas in this Action. See, e.g., Fed. R. Civ. P. 45(b)(3)(A)(iv) (requiring

24   the Court to “quash … a subpoena … that subjects a person to undue burden”).

25   Question 3:

26            If you did not write every word of the Articles, who did and what part of each Article did

27   they write?

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     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 6 of 26


 1   Response to Question 3:

 2            The extent to which individuals other than Mr. Meagher contributed to the Articles’ is

 3   absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

 4   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

 5   information obtained in the newsgathering process”); Shoen, 5 F.3d at 1292; Cal. Evid. Code §

 6   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

 7   to the public by the person from whom disclosure is sought and includes … data of whatever sort

 8   not itself disseminated to the public....”) (emphasis added).

 9            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

10   relevant information since, as Judge Beeler has ruled, questions about whether Mr. Meagher was

11   responsible for “writing every word of the Article… do not bear on [Plaintiffs’] claims against

12   FINRA.” Order at 2. Moreover, to the extent this Question is relevant to Plaintiffs’ claims against

13   FINRA, it is relevant “because [it] necessarily call[s] for Mr. Meagher to reveal information about

14   his use of confidential sources to research and write his articles,” which is also privileged

15   information. Id. Last, Mr. Meagher objects to this Question on the ground that revealing the

16   identity of individuals other than Mr. Meagher who worked on the Articles (if any) would result in

17   further harassment of yet more employees of The Deal by meritless demands for discovery,

18   especially given Plaintiffs’ course of conduct thus far. See, e.g., Fed. R. Civ. P. 45(b)(3)(A)(iv)

19   (requiring the Court to “quash … a subpoena … that subjects a person to undue burden”).

20   Question 4:

21            Did you write each of the headlines that accompanied the Articles?

22   Response to Question 4:

23            The extent to which Mr. Meagher wrote or otherwise contributed to the Articles’ headlines

24   is absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

25   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

26   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

27   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

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     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 7 of 26


 1   to the public by the person from whom disclosure is sought and includes … data of whatever sort

 2   not itself disseminated to the public....”) (emphasis added).

 3            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

 4   relevant information since, as Judge Beeler has ruled, topics other than the identity of Mr.

 5   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

 6   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

 7   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

 8   Meagher to reveal information about his use of confidential sources to research and write his

 9   articles,” which is also privileged information. Id.

10   Question 5:

11            If you did not write each headline that accompanied the Articles, who did?

12   Response to Question 5:

13            The extent to which individuals other than Mr. Meagher wrote or otherwise contributed to

14   the Articles’ headlines is absolutely privileged as unpublished editorial information. See, e.g.,

15   Miller, 21 Cal. 4th at 890 (“The shield law is absolute … in immunizing a newsperson from

16   revealing unpublished information obtained in the newsgathering process”); Shoen I, 5 F.3d at

17   1292; Cal. Evid. Code § 1070(c) (“As used in this section, ‘unpublished information’ includes

18   information not disseminated to the public by the person from whom disclosure is sought and

19   includes … data of whatever sort not itself disseminated to the public....”) (emphasis added).

20            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

21   relevant information since, as Judge Beeler has ruled, topics other than the identity of Mr.

22   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

23   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

24   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

25   Meagher to reveal information about his use of confidential sources to research and write his

26   articles,” which is also privileged information. Id. at 2. Last, Mr. Meagher objects to this Question

27   on the ground that revealing the identity of other individuals who worked on the Articles (if any)

28   would result in harassment of yet more journalists working for The Deal, especially given

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 8 of 26


 1   Plaintiffs’ track record of prosecuting meritless subpoenas in this Action. See, e.g., Fed. R. Civ. P.

 2   45(b)(3)(A)(iv) (requiring the Court to “quash … a subpoena … that subjects a person to undue

 3   burden”).

 4   Question 6:

 5            Do you contend that every statement in the Articles is true?

 6   Response to Question 6

 7            With regard to the information Mr. Meagher received from confidential source(s) regarding

 8   Plaintiffs, Mr. Meagher has already affirmed that he “believed that information to be true when [he]

 9   first published it and believe[s] it to be true now.” Meagher Decl. ¶5. Mr. Meagher’s contention

10   as to the truth of other statements published in the Articles is absolutely privileged unpublished

11   editorial information. See, e.g., Miller, 21 Cal. 4th at 890 (“The shield law is absolute … in

12   immunizing a newsperson from revealing unpublished information obtained in the newsgathering

13   process”); Shoen, 5 F.3d at 1292; Cal. Evid. Code § 1070(c) (“As used in this section, ‘unpublished

14   information’ includes information not disseminated to the public by the person from whom

15   disclosure is sought and includes … data of whatever sort not itself disseminated to the public....”)

16   (emphasis added).

17            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

18   relevant information since, as Judge Beeler has ruled, topics other than the identity of Mr.

19   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

20   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

21   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

22   Meagher to reveal information about his use of confidential sources to research and write his

23   articles,” which is also privileged information. Id. at 2.

24   Question 7:

25            What, if anything, in the Articles is your opinion?

26   Response to Question 7:

27            Mr. Meagher’s testimony as to whether statements in the Articles constitute opinion is

28   irrelevant since the determination of whether a challenged statement constitutes non-actionable

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
         Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 9 of 26


 1   opinion “is a question of law to be decided by the court.” Troy Grp. V. Tilson, 364 F. Supp. 2d

 2   1149, 1158 (C.D. Cal. 2005) (quoting Baker v. Los Angeles Herald Examiner, 42 Cal. 3d 254, 260

 3   (1986)). In addition, Mr. Meagher’s testimony as to whether some or all of the Articles constitute

 4   opinion is absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th

 5   at 890 (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

 6   information obtained in the newsgathering process”); Shoen, 5 F.3d at 1292; Cal. Evid. Code §

 7   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

 8   to the public by the person from whom disclosure is sought and includes … data of whatever sort

 9   not itself disseminated to the public....”) (emphasis added).

10            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

11   relevant information because, as Judge Beeler has ruled, topics other than the identity of Mr.

12   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

13   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

14   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

15   Meagher to reveal information about his use of confidential sources to research and write his

16   articles,” which is also privileged information. Id. at 2. Finally, Mr. Meagher further objects to this

17   Question because it is overly broad and burdensome in that it does not identify what statements

18   from four different Articles the Question is focused on or even if such statements have any bearing

19   on Plaintiffs’ lawsuit against FINRA.

20   Question 8:

21            What, if anything, in the Articles is rhetorical hyperbole?

22   Response to Question 8:

23            Mr. Meagher’s testimony as to whether statements in the Articles constitute rhetorical

24   hyperbole is irrelevant since the determination of whether a challenged statement “implies an

25   assertion of objective fact is a question of law.” Steam Press Holdings, Inc. v. Haw. Teamsters &

26   Allied Workers Union, Local 996, 302 F.3d 998, 1005 (9th Cir. 2002). In addition, Mr. Meagher’s

27   testimony as to whether some or all of the Articles constitute rhetorical hyperbole is absolutely

28   privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890 (“The shield

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 10 of 26


 1   law is absolute … in immunizing a newsperson from revealing unpublished information obtained in

 2   the newsgathering process”); Shoen, 5 F.3d at 1292; Cal. Evid. Code § 1070(c) (“As used in this

 3   section, ‘unpublished information’ includes information not disseminated to the public by the

 4   person from whom disclosure is sought and includes … data of whatever sort not itself

 5   disseminated to the public....”) (emphasis added).

 6            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

 7   relevant information because, as Judge Beeler has ruled, topics other than the identity of Mr.

 8   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

 9   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

10   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

11   Meagher to reveal information about his use of confidential sources to research and write his

12   articles,” which is also privileged information. Id. at 2. Finally, Mr. Meagher further objects to this

13   Question because it is overly broad and burdensome in that it does not identify what statements

14   from the four different Articles the Question is focused on or even if such statements have any

15   bearing on the Plaintiffs’ lawsuit against FINRA.

16   Question 9:

17            What, if anything, in the Articles is conjecture?

18   Response to Question 9:

19            Mr. Meagher’s testimony as to whether statements in the Articles constitute conjecture is

20   irrelevant since the determination of whether a challenged statement “implies an assertion of

21   objective fact is a question of law.” Steam Press Holdings, 302 F.3d at 1005. In addition, Mr.

22   Meagher’s testimony as to whether some or all of the Articles constitute conjecture is absolutely

23   privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890 (“The shield

24   law is absolute … in immunizing a newsperson from revealing unpublished information obtained in

25   the newsgathering process”); Shoen, 5 F.3d at 1292; Cal. Evid. Code § 1070(c) (“As used in this

26   section, ‘unpublished information’ includes information not disseminated to the public by the

27   person from whom disclosure is sought and includes … data of whatever sort not itself

28   disseminated to the public....”) (emphasis added).

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 11 of 26


 1            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

 2   relevant information because, as Judge Beeler has ruled, topics other than the identity of Mr.

 3   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

 4   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

 5   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

 6   Meagher to reveal information about his use of confidential sources to research and write his

 7   articles,” which is also privileged information. Id. at 2. Last, Mr. Meagher objects to the Question

 8   as vague and confusing since the meaning of the word “conjecture” is not clear.

 9   Question 10:

10            What, if anything, in the Articles is not a statement of fact?

11   Response to Question 10:

12            Mr. Meagher’s testimony as to whether any statements in the Articles are not statements of

13   fact is irrelevant since the determination of whether a challenged statement “implies an assertion of

14   objective fact is a question of law.” Steam Press Holdings, 302 F.3d at 1005. In addition, Mr.

15   Meagher’s testimony as to whether some or all of the Articles constitute statements of fact is

16   absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

17   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

18   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

19   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

20   to the public by the person from whom disclosure is sought and includes … data of whatever sort

21   not itself disseminated to the public....”) (emphasis added).

22            Mr. Meagher further objects that this Question is incapable of leading to the discovery of

23   relevant information because, as Judge Beeler has ruled, topics other than the identity of Mr.

24   Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus

25   “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question

26   is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr.

27   Meagher to reveal information about his use of confidential sources to research and write his

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     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 12 of 26


 1   articles,” which is also privileged information. Id. at 2. Last, Mr. Meagher objects that this

 2   Question is duplicative of Questions 7-9, inter alia.

 3   Question 11:

 4            What are The Deal Pipeline’s general editorial practices, if any, for including opinions in its

 5   news articles?

 6   Response to Question 11:

 7            A Question concerning The Deal’s general practices concerning publishing opinion assumes

 8   without foundation that The Deal has “general editorial practices” that govern opinion and, if such

 9   general practices did exist, Mr. Meagher’s testimony concerning any such practices are irrelevant to

10   Plaintiffs’ claims against FINRA since the determination of whether a challenged statement

11   constitutes non-actionable opinion “is a question of law to be decided by the court.” Troy Grp.,

12   364 F. Supp. 2d at 1158. Mr. Meagher further objects that this Question is incapable of leading to

13   the discovery of relevant information because, as Judge Beeler has ruled, topics other than the

14   identity of Mr. Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against

15   FINRA” and are thus “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Simply put, The

16   Deal’s general editorial practices with regard to the publication of opinion are not relevant to

17   Plaintiffs’ claims against FINRA. Moreover, to the extent this Question is relevant to Plaintiffs’

18   claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal information

19   about his use of confidential sources to research and write his articles,” which is also privileged

20   information. Id. at 2.

21            Mr. Meagher’s testimony as to the practice of The Deal’s editors in including opinion in

22   news articles is also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21

23   Cal. 4th at 890 (“The shield law is absolute … in immunizing a newsperson from revealing

24   unpublished information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal.

25   Evid. Code § 1070(c) (“As used in this section, ‘unpublished information’ includes information not

26   disseminated to the public by the person from whom disclosure is sought and includes … data of

27   whatever sort not itself disseminated to the public....”) (emphasis added). Mr. Meagher further

28   objects to this Question as being duplicative of Question 7, inter alia, and as being an effort to

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 13 of 26


 1   circumvent the protections of the reporters’ privilege by reframing a specific question about the

 2   Articles as a question about general editorial practice.

 3   Question 12:

 4            What are The Deal Pipeline’s general editorial practices, if any, for including rhetorical

 5   hyperbole in its news articles?

 6   Response to Question 12:

 7            A Question concerning The Deal’s general practices for publishing rhetorical hyperbole

 8   assumes without foundation that The Deal has “general editorial practices” that govern publishing

 9   rhetorical hyperbole and, if such practices exist, Mr. Meagher’s testimony concerning such a

10   practices is irrelevant to Plaintiffs’ claims against FINRA since the determination of whether a

11   challenged statement “implies an assertion of objective fact is a question of law.” Steam Press

12   Holdings, 302 F.3d at 1005. Mr. Meagher further objects that this Question is incapable of leading

13   to the discovery of relevant information because, as Judge Beeler has ruled, topics other than the

14   identity of Mr. Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims against

15   FINRA” and are thus “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Simply put, The

16   Deal’s general editorial practices are not relevant to Plaintiffs’ claims against FINRA. Moreover,

17   to the extent this Question is relevant to Plaintiffs’ claims against FINRA, it is “because [it]

18   necessarily call[s] for Mr. Meagher to reveal information about his use of confidential sources to

19   research and write his articles,” which is also privileged information. Id. at 2.

20            Mr. Meagher’s testimony as to the practice of The Deal’s editors in including rhetorical

21   hyperbole in news articles is also absolutely privileged as unpublished editorial information. See,

22   e.g., Miller, 21 Cal. 4th at 890 (“The shield law is absolute … in immunizing a newsperson from

23   revealing unpublished information obtained in the newsgathering process”); Shoen I, 5 F.3d at

24   1292; Cal. Evid. Code § 1070(c) (“As used in this section, ‘unpublished information’ includes

25   information not disseminated to the public by the person from whom disclosure is sought and

26   includes … data of whatever sort not itself disseminated to the public....”) (emphasis added). Mr.

27   Meagher further objects to this Question as being duplicative of Question 8, inter alia, and as being

28

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 14 of 26


 1   an effort to circumvent the protections of the reporters’ privilege by reframing a specific question

 2   about the Articles as a question about general editorial practice.

 3   Question 13:

 4            What are The Deal Pipeline’s general editorial practices, if any, for including conjecture in

 5   its news articles?

 6   Response to Question 13:

 7            A Question concerning The Deal’s general practices for publishing conjecture assumes

 8   without foundation that The Deal has “general editorial practices” that govern publishing

 9   conjecture and, if such practices exist, Mr. Meagher’s testimony as to The Deal’s general practices

10   of publishing conjecture is irrelevant to Plaintiffs’ claims against FINRA since the determination of

11   whether a challenged statement “implies an assertion of objective fact is a question of law.” Steam

12   Press Holdings, 302 F.3d at 1005. Mr. Meagher further objects that this Question is incapable of

13   leading to the discovery of relevant information because, as Judge Beeler has ruled, topics other

14   than the identity of Mr. Meagher’s confidential source(s) “do not bear on [Plaintiffs’] claims

15   against FINRA” and are thus “of limited relevance to the Arizona lawsuit.” Order at 2, 3. Simply

16   put, The Deal’s general editorial practices are not relevant to Plaintiffs’ claims against FINRA.

17   Moreover, to the extent this Question is relevant to Plaintiffs’ claims against FINRA, it is “because

18   [it] necessarily call[s] for Mr. Meagher to reveal information about his use of confidential sources

19   to research and write his articles,” which is also privileged information. Id. at 2.

20            Mr. Meagher’s testimony as to the practice of The Deal’s editors in including conjecture in

21   news articles is also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21

22   Cal. 4th at 890 (“The shield law is absolute … in immunizing a newsperson from revealing

23   unpublished information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal.

24   Evid. Code § 1070(c) (“As used in this section, ‘unpublished information’ includes information not

25   disseminated to the public by the person from whom disclosure is sought and includes … data of

26   whatever sort not itself disseminated to the public....”) (emphasis added). Mr. Meagher further

27   objects to this Question as being duplicative of Question 9, inter alia, and as being an effort to

28   circumvent the protections of the reporters’ privilege by reframing a specific question about the

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 15 of 26


 1   Articles as a question about general editorial practice. Last, Mr. Meagher objects to the Question as

 2   vague since the meaning of the word “conjecture” is not clear.

 3   Question 14:

 4            Who generally writes the headlines that accompany articles you write for The Deal

 5   Pipeline?

 6   Response to Question 14:

 7            Mr. Meagher objects that this Question is incapable of leading to the discovery of relevant

 8   information since, as Judge Beeler has ruled, topics other than the identity of Mr. Meagher’s

 9   confidential source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus “of limited

10   relevance to the Arizona lawsuit.” Order at 2, 3. Moreover, to the extent this Question is relevant

11   to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal

12   information about his use of confidential sources to research and write his articles,” which is also

13   privileged information. Id. at 2. Mr. Meagher further objects to this Question on the ground that

14   revealing the identity of other individuals who worked on the Articles (if any) would result in

15   harassment of yet more journalists working for The Deal, especially given Plaintiffs’ track record

16   of prosecuting meritless subpoenas in this Action. See, e.g., Fed. R. Civ. P. 45(b)(3)(A)(iv)

17   (requiring the Court to “quash … a subpoena … that subjects a person to undue burden”).

18            The identity of the individuals that have written headlines for Mr. Meagher’s articles is

19   absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

20   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

21   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

22   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

23   to the public by the person from whom disclosure is sought and includes … data of whatever sort

24   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

25   Question as being duplicative of Questions 4-5, inter alia, and as being an effort to circumvent the

26   protections of the reporters’ privilege by reframing a specific question about the Articles as a

27   question about general editorial practice.

28

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 16 of 26


 1   Question 15:

 2            What are The Deal Pipeline’s general editorial practices, if any, for verifying information in

 3   the stories it publishes?

 4   Response to Question 15:

 5            Mr. Meagher objects that this Question is incapable of leading to the discovery of relevant

 6   information because, as Judge Beeler has ruled, “policies about fact-checking and verifying sources

 7   … do not bear on [Plaintiffs’] claims against FINRA.” Order at 2. Simply put, The Deal’s general

 8   editorial practices are not relevant to Plaintiffs’ claims against FINRA. Moreover, to the extent this

 9   Question is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for

10   Mr. Meagher to reveal information about his use of confidential sources to research and write his

11   articles,” which is absolutely privileged information. Id. at 2.

12            Mr. Meagher’s testimony as to The Deal’s practices for fact-checking its news articles is

13   also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

14   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

15   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

16   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

17   to the public by the person from whom disclosure is sought and includes … data of whatever sort

18   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

19   Question as being an effort to circumvent the protections of the reporters’ privilege by reframing a

20   specific question about the fact-checking process for the Articles as a question about general

21   editorial practice.

22   Question 16:

23            Does The Deal Pipeline employ fact checkers to verify information in the stories it

24   publishes?

25   Response to Question 16

26            Mr. Meagher objects that this Question is incapable of leading to the discovery of relevant

27   information because, as Judge Beeler has ruled, “policies about fact-checking and verifying sources

28   … do not bear on [Plaintiffs’] claims against FINRA.” Order at 2. Simply put, The Deal’s general

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 17 of 26


 1   editorial practices are not relevant to Plaintiffs’ claims against FINRA. Moreover, to the extent this

 2   Question is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for

 3   Mr. Meagher to reveal information about his use of confidential sources to research and write his

 4   articles,” which is absolutely privileged information. Id. at 2.

 5            Mr. Meagher’s testimony as to The Deal’s practices for fact-checking its news articles is

 6   also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

 7   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

 8   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

 9   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

10   to the public by the person from whom disclosure is sought and includes … data of whatever sort

11   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

12   Question as being duplicative of Questions 15 & 17, inter alia, and as being an effort to circumvent

13   the protections of the reporters’ privilege by reframing a specific question about the fact-checking

14   process for the Articles as a question about general editorial practice.

15   Question 17:

16            Did The Deal Pipeline employ fact checkers to verify any information contained in the

17   Articles?

18   Response to Question 17:

19            Mr. Meagher objects that this Question is incapable of leading to the discovery of relevant

20   information because, as Judge Beeler has ruled, “fact-checking … do[es] not bear on [Plaintiffs’]

21   claims against FINRA.” Order at 2. Moreover, to the extent this Question is relevant to Plaintiffs’

22   claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal information

23   about his use of confidential sources to research and write his articles,” which is absolutely

24   privileged information. Id. at 2.

25            Mr. Meagher’s testimony as to The Deal’s practices for fact-checking its news articles is

26   also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

27   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

28   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 18 of 26


 1   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

 2   to the public by the person from whom disclosure is sought and includes … data of whatever sort

 3   not itself disseminated to the public....”) (emphasis added).

 4   Question 18:

 5            If The Deal Pipeline employed fact checkers to verify information contained in the Articles,

 6   who were the fact checkers, what facts did they check, and what steps did they take to check those

 7   facts?

 8   Response to Question 18:

 9            Mr. Meagher objects that this Question is incapable of leading to the discovery of relevant

10   information because, as Judge Beeler has ruled, “fact-checking … do[es] not bear on [Plaintiffs’]

11   claims against FINRA.” Order at 2. Moreover, to the extent this Question is relevant to Plaintiffs’

12   claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal information

13   about his use of confidential sources to research and write his articles,” which is absolutely

14   privileged information. Id. at 2.

15            Mr. Meagher’s testimony as to the process for fact-checking the Articles is also absolutely

16   privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890 (“The shield

17   law is absolute … in immunizing a newsperson from revealing unpublished information obtained in

18   the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code § 1070(c) (“As used in this

19   section, ‘unpublished information’ includes information not disseminated to the public by the

20   person from whom disclosure is sought and includes … data of whatever sort not itself

21   disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this Question on

22   the ground that revealing the identity of other individuals who worked on the Articles (if any)

23   would result in harassment of yet more journalists working for The Deal, especially given

24   Plaintiffs’ track record of prosecuting meritless subpoenas in this Action. See, e.g., Fed. R. Civ. P.

25   45(b)(3)(A)(iv) (requiring the Court to “quash … a subpoena … that subjects a person to undue

26   burden”). Last, Mr. Meagher objects to form on the basis that this Question is an impermissible

27   compound question.

28

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 19 of 26


 1   Question 19:

 2            What are The Deal Pipeline’s general editorial practices, if any, concerning the need for

 3   more than a singular source to support any allegations in the stories it publishes?

 4   Response to Question 19:

 5            To the extent this Question is relevant to Plaintiffs’ claims against FINRA, it is “because [it]

 6   necessarily call[s] for Mr. Meagher to reveal information about his use of confidential sources to

 7   research and write his articles,” which is absolutely privileged information. Id. at 2. Mr. Meagher

 8   further objects that this Question is incapable of leading to the discovery of relevant information

 9   because, as Judge Beeler has ruled, “policies about fact-checking and verifying sources … do not

10   bear on [Plaintiffs’] claims against FINRA.” Order at 2. Simply put, The Deal’s general editorial

11   practices are not relevant to Plaintiffs’ claims against FINRA.

12            Mr. Meagher’s testimony as to The Deal’s general editorial practices for requiring a certain

13   number of sources to substantiate its articles is also absolutely privileged as unpublished editorial

14   information. See, e.g., Miller, 21 Cal. 4th at 890 (“The shield law is absolute … in immunizing a

15   newsperson from revealing unpublished information obtained in the newsgathering process”);

16   Shoen I, 5 F.3d at 1292; Cal. Evid. Code § 1070(c) (“As used in this section, ‘unpublished

17   information’ includes information not disseminated to the public by the person from whom

18   disclosure is sought and includes … data of whatever sort not itself disseminated to the public....”)

19   (emphasis added). Mr. Meagher further objects to this Question as being an effort to circumvent

20   the protections of the reporters’ privilege by reframing a specific question about the number of

21   confidential source(s) for the Articles as a question about general editorial practice.

22   Question 20:

23            Do you generally include your opinions in articles you write for The Deal Pipeline?

24   Response to Question 20:

25            Mr. Meagher objects to this Question since his testimony as to his own general practice of

26   publishing opinion, if such a practice exists, is irrelevant to Plaintiffs’ claims against FINRA since

27   the determination of whether a challenged statement constitutes non-actionable opinion “is a

28   question of law to be decided by the court.” Troy Grp., 364 F. Supp. 2d at 1158. Mr. Meagher

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 20 of 26


 1   further objects that this Question is incapable of leading to the discovery of relevant information

 2   because, as Judge Beeler has ruled, topics other than the identity of Mr. Meagher’s confidential

 3   source(s) “do not bear on [Plaintiffs’] claims against FINRA” and are thus “of limited relevance to

 4   the Arizona lawsuit.” Order at 2, 3. Simply put, Mr. Meagher’s journalistic practices with regard

 5   to the publication of opinion are not relevant to Plaintiffs’ claims against FINRA. Moreover, to the

 6   extent this Question is relevant to Plaintiffs’ claims against FINRA, it is “because [it] necessarily

 7   call[s] for Mr. Meagher to reveal information about his use of confidential sources to research and

 8   write his articles,” which is also privileged information. Id. at 2.

 9            Mr. Meagher’s testimony as to his own practice of including opinion in news articles is also

10   absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

11   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

12   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

13   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

14   to the public by the person from whom disclosure is sought and includes … data of whatever sort

15   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

16   Question as being duplicative of Question 7, inter alia, and as being an effort to circumvent the

17   protections of the reporters’ privilege by reframing a specific question about the Articles as a

18   question about general editorial practice.

19   Question 21:

20            Do you generally include rhetorical hyperbole in articles you write for The Deal Pipeline?

21   Response to Question 21:

22            Mr. Meagher objects to this Question since his testimony as to his own general practice of

23   publishing rhetorical hyperbole, if such a practice exists, is irrelevant to Plaintiffs’ claims against

24   FINRA since the determination of whether a challenged statement “implies an assertion of

25   objective fact is a question of law.” Steam Press Holdings, 302 F.3d at 1005. Mr. Meagher further

26   objects that this Question is incapable of leading to the discovery of relevant information because,

27   as Judge Beeler has ruled, topics other than the identity of Mr. Meagher’s confidential source(s)

28   “do not bear on [Plaintiffs’] claims against FINRA” and are thus “of limited relevance to the

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 21 of 26


 1   Arizona lawsuit.” Order at 2, 3. Simply put, Mr. Meagher’s general journalistic practices are not

 2   relevant to Plaintiffs’ claims against FINRA. Moreover, to the extent this Question is relevant to

 3   Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal

 4   information about his use of confidential sources to research and write his articles,” which is also

 5   privileged information. Id. at 2.

 6            Mr. Meagher’s testimony as to his own practice of including rhetorical hyperbole in news

 7   articles is also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal.

 8   4th at 890 (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

 9   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

10   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

11   to the public by the person from whom disclosure is sought and includes … data of whatever sort

12   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

13   Question as being duplicative of Question 8, inter alia, and as being an effort to circumvent the

14   protections of the reporters’ privilege by reframing a specific question about the Articles as a

15   question about general editorial practice.

16   Question 22:

17            Do you generally include conjecture in articles you write for The Deal Pipeline?

18   Response to Question 22:

19            Mr. Meagher objects to this Question since his testimony as to his own general practice of

20   publishing conjecture, if any such practice exists, is irrelevant to Plaintiffs’ claims against FINRA

21   since the determination of whether a challenged statement “implies an assertion of objective fact is

22   a question of law.” Steam Press Holdings, 302 F.3d at 1005. Mr. Meagher further objects that this

23   Question is incapable of leading to the discovery of relevant information because, as Judge Beeler

24   has ruled, topics other than the identity of Mr. Meagher’s confidential source(s) “do not bear on

25   [Plaintiffs’] claims against FINRA” and are thus “of limited relevance to the Arizona lawsuit.”

26   Order at 2, 3. Simply put, Mr. Meagher’s general journalistic practices are not relevant to

27   Plaintiffs’ claims against FINRA. Moreover, to the extent this Question is relevant to Plaintiffs’

28   claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal information

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 22 of 26


 1   about his use of confidential sources to research and write his articles,” which is also privileged

 2   information. Id. at 2.

 3            Mr. Meagher’s testimony as to his own practice of including conjecture in news articles is

 4   also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal. 4th at 890

 5   (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

 6   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

 7   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

 8   to the public by the person from whom disclosure is sought and includes … data of whatever sort

 9   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

10   Question as being duplicative of Question 9, inter alia, and as being an effort to circumvent the

11   protections of the reporters’ privilege by reframing a specific question about the Articles as a

12   question about general editorial practice. Last, Mr. Meagher objects to the Question as vague since

13   the meaning of the word “conjecture” is not clear.

14   Question 23:

15            Do you generally employ dramatic license in articles you write for The Deal Pipeline?

16   Response to Question 23:

17            Mr. Meagher objects to this Question since his testimony as to his own general practice of

18   employing dramatic license, if any such practice even exists, is irrelevant to Plaintiffs’ claims

19   against FINRA since the determination of whether a challenged statement “implies an assertion of

20   objective fact is a question of law.” Steam Press Holdings, 302 F.3d at 1005. Mr. Meagher further

21   objects that this Question is incapable of leading to the discovery of relevant information because,

22   as Judge Beeler has ruled, topics other than the identity of Mr. Meagher’s confidential source(s)

23   “do not bear on [Plaintiffs’] claims against FINRA” and are thus “of limited relevance to the

24   Arizona lawsuit.” Order at 2, 3. Simply put, Mr. Meagher’s general journalistic practices are not

25   relevant to Plaintiffs’ claims against FINRA. Moreover, to the extent this Question is relevant to

26   Plaintiffs’ claims against FINRA, it is “because [it] necessarily call[s] for Mr. Meagher to reveal

27   information about his use of confidential sources to research and write his articles,” which is also

28   privileged information. Id. at 2.

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
          Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 23 of 26


 1            Mr. Meagher’s testimony as to his own practice of employing dramatic license in news

 2   articles is also absolutely privileged as unpublished editorial information. See, e.g., Miller, 21 Cal.

 3   4th at 890 (“The shield law is absolute … in immunizing a newsperson from revealing unpublished

 4   information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal. Evid. Code §

 5   1070(c) (“As used in this section, ‘unpublished information’ includes information not disseminated

 6   to the public by the person from whom disclosure is sought and includes … data of whatever sort

 7   not itself disseminated to the public....”) (emphasis added). Mr. Meagher further objects to this

 8   Question as being an effort to circumvent the protections of the reporters’ privilege by reframing a

 9   specific question about the Articles as a question about general editorial practice. Last, Mr.

10   Meagher objects to the Question as vague since the meaning of the phrase “dramatic license” is not

11   clear.

12   Question 24:

13            Is there anything contained in any of the Articles that you intended to be understood as

14   humorous, flippant, sarcastic, facetious, or otherwise not to be taken literally or serious?

15   Response to Question 24:

16            Mr. Meagher objects to this Question as irrelevant to Plaintiffs’ claims against FINRA since

17   the determination of whether a challenged statement “implies an assertion of objective fact is a

18   question of law.” Steam Press Holdings, 302 F.3d at 1005. Mr. Meagher further objects that this

19   Question is incapable of leading to the discovery of relevant information because, as Judge Beeler

20   has ruled, topics other than the identity of Mr. Meagher’s confidential source(s) “do not bear on

21   [Plaintiffs’] claims against FINRA” and are thus “of limited relevance to the Arizona lawsuit.”

22   Order at 2, 3. Moreover, to the extent this Question is relevant to Plaintiffs’ claims against FINRA,

23   it is “because [it] necessarily call[s] for Mr. Meagher to reveal information about his use of

24   confidential sources to research and write his articles,” which is also privileged information. Id. at

25   2.

26            Mr. Meagher’s testimony as to his whether he intended any statements in the Articles to be

27   “understood as humorous, flippant, sarcastic, facetious or otherwise not to be taken literally or

28   serious [sic]” is also absolutely privileged as unpublished editorial information. See, e.g., Miller,

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
          Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 24 of 26


 1   21 Cal. 4th at 890 (“The shield law is absolute … in immunizing a newsperson from revealing

 2   unpublished information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal.

 3   Evid. Code § 1070(c) (“As used in this section, ‘unpublished information’ includes information not

 4   disseminated to the public by the person from whom disclosure is sought and includes … data of

 5   whatever sort not itself disseminated to the public....”) (emphasis added). Last, Mr. Meagher

 6   objects to this Question as an impermissible compound question.

 7   Question 25:

 8            What, if anything, in the Articles did you intend to be understood as humorous, flippant,

 9   sarcastic, facetious, or otherwise not to be taken literally or serious?

10   Response to Question 25:

11            Mr. Meagher objects to this Question as irrelevant to Plaintiffs’ claims against FINRA since

12   the determination of whether a challenged statement “implies an assertion of objective fact is a

13   question of law.” Steam Press Holdings, 302 F.3d at 1005. Mr. Meagher further objects that this

14   Question is incapable of leading to the discovery of relevant information because, as Judge Beeler

15   has ruled, topics other than the identity of Mr. Meagher’s confidential source(s) “do not bear on

16   [Plaintiffs’] claims against FINRA” and are thus “of limited relevance to the Arizona lawsuit.”

17   Order at 2, 3. Moreover, to the extent this Question is relevant to Plaintiffs’ claims against FINRA,

18   it is “because [it] necessarily call[s] for Mr. Meagher to reveal information about his use of

19   confidential sources to research and write his articles,” which is also privileged information. Id. at

20   2.

21            Mr. Meagher’s testimony as to his whether he intended any statements in the Articles to be

22   “understood as humorous, flippant, sarcastic, facetious or otherwise not to be taken literally or

23   serious [sic]” is also absolutely privileged as unpublished editorial information. See, e.g., Miller,

24   21 Cal. 4th at 890 (“The shield law is absolute … in immunizing a newsperson from revealing

25   unpublished information obtained in the newsgathering process”); Shoen I, 5 F.3d at 1292; Cal.

26   Evid. Code § 1070(c) (“As used in this section, ‘unpublished information’ includes information not

27   disseminated to the public by the person from whom disclosure is sought and includes … data of

28   whatever sort not itself disseminated to the public....”) (emphasis added). Mr. Meagher further

     RESPONSES/OBJECTIONS TO DEPOSITION BY WRITTEN QUESTIONS OF WILLIAM MEAGHER
     Case No. 14-cv-02490-PHX-ROS
     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 25 of 26


 1   objects on the ground that this Question is duplicative of Question 24, inter alia. Last, Mr.

 2   Meagher objects to this Question as an impermissible compound question.

 3

 4   Dated: April 19, 2017                          DAVIS WRIGHT TREMAINE LLP
                                                    THOMAS R. BURKE
 5                                                  ELIZABETH A. MCNAMARA (pro hac vice)
 6                                                  JOHN M. BROWNING (pro hac vice)

 7                                                   By:     /s/ Thomas R. Burke
                                                           Thomas R. Burke
 8
                                                    Attorneys for Non-Party Journalist William Meagher
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     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
        Case 3:17-mc-80026-LB Document 16-1 Filed 04/26/17 Page 26 of 26


 1                                           CERTIFICATE OF SERVICE

 2            I HEREBY CERTIFY that a true and correct copy of the foregoing document has been

 3   furnished via e-mail this 19th day of April, 2017 to the following:

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28                                                                         /s/ John M. Browning

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     NG-S40TG52V 4831-8303-6999v.1 0090219-000012
